      Case 2:18-cv-00510-JNP-PMW Document 34 Filed 01/10/19 Page 1 of 1
                                                                                   FILED
                                                                            2019 JAN 10 PM 12:24
                                                                                  CLERK
                                                                            U.S. DISTRICT COURT


Jon V. Harper (#1378)
HARPER LAW, PLC
P.O. Box 581468
Salt Lake City, UT 84158
Tel: (801) 910-4357
jharper@jonharperlaw.com

Attorneys for Lead Plaintiff

                            UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION

IN RE POLARITYTE, INC. SECURITIES               Master File No. 2:18-cv-510-JNP
LITIGATION                                      (Consolidated with 2:18-cv-514-DB)

This Document Relates To:                       ORDER GRANTING MOTION FOR PRO
                                                HAC VICE ADMISSION OF BRENDA
All Actions                                     SZYDLO

                                                Honorable Jill N. Parrish



       It appearing to the Court that Petitioner meets the pro hac vice admission requirements of

DUCiv R 83-1.1(d), the motion for the admission pro hac vice of Brenda Szydlo in the United

States District Court, District of Utah in the subject case is GRANTED.


Dated: this 10th day of January, 2019.


                                                    _________________________________
                                                     Jill N. Parrish
                                                     U.S. District Judge
